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              UNITED STATES DISTRICT COURT
                             Eastern District of California
       Petition to Modify the Conditions or Term of Supervision
                     with Consent of the Offender
                        (Probation Form 49, Waiver of Hearing, is on file)

Name of Offender:      Anthony Rivera

Docket Number:         0972 2:11CR00295

Name of Judicial Officer:      Chief United States District Court Judge Morrison C. England, Jr.

Date of Original Sentence:     03/28/2013

Original Offense: 8 U.S.C. § 1324(a)(1)(A)(iv); 1324(a)(1)A)(v)(I); and 1324(a)(1)(B)(I) (Class C
Felony)

Original Sentence: 24 months custody Bureau of Prisons; 36 month Term of Supervised Release; $100
special assessment. Mandatory drug testing; No firearms; DNA collection.

Special Conditions: Warrantless Search; Financial Disclosure; Drug/Alcohol Treatment; Drug/Alcohol
Testing; and Aftercare Co-payment.

Type of Supervision: TSR

Date Supervision Commenced: 4/22/2013

Other Court Actions:

09/20/2013:            Probation Form 12A1 – Petition filed reporting the offender's use of a controlled
                       substance (namely amphetamine and marijuana). Court approved the probation
                       officer's plan for no further action at that time.




                                  PETITIONING THE COURT

  1.    To modify the conditions of supervision as follows: As directed by the probation officer,
        the defendant shall reside and participate in an inpatient correctional treatment program
        to obtain assistance for drug and/or alcohol abuse, for a period of up to 90 days, and up
        to 10 additional days for substance abuse detoxification services if deemed
        necessary.




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Justification: January 30, 2014, Mr. Rivera submitted urine samples which tested positive illicit drug use
(namely methamphetamine), in violation of the Mandatory Condition, which states in part, “the defendant
shall refrain from any unlawful use of a controlled substance.”

Specifically, on January 30, 2014, the undersigned probation officer performed an unannounced home
visit at Mr. Rivera’s reported residence. Thereupon, the offender submitted a urine sample which
produced a presumptive positive for methamphetamine. Mr. Rivera initially appeared baffled by the
result; however, upon further exploration, he admitted to the illicit drug use. The offender conveyed that
he has been under extreme stress at home due to a dysfunctional environment (specifically, his mother is
diagnosed bi-polar). To complicate matters further, the offender has been unable to provide the bare
necessities for his three year-old daughter due to his continued unemployment status.

Nonetheless, the offender was strongly admonished for his poor judgment in resorting to illegal drug use
during stressful situations. The offender was reminded that this is his third positive drug test since August
15, 2013. He was reminded that one more positive drug test could resort in a revocation of supervision
(statutorily.) As a result, the offender was informed that a petition to modify his conditions would be
submitted to include inpatient drug treatment. However, placement would only be initiated in the event
the offender produces another positive drug test. As such, Mr. Rivera willingly signed a waiver to modify
his conditions of supervision to include his participation in an inpatient drug and alcohol treatment
program for a period of up to 90 days (as directed by the probation officer).

In closing, the offender relayed his intentions of discontinuing illegal drug use moving forward.
Moreover, he was increased to individual substance abuse counseling (already enrolled in weekly
outpatient group counseling.) Lastly, the offender’s drug testing at The Effort was increased to the
highest frequency.

It is worth noting that on February 4, 2014, a subsequent home visit was performed at which time a urine
sample was collected. To his credit, the urinalysis produced negative results for illicit drug use.

                                                       Respectfully submitted,
                                                       /s/ Vladimir Pajcin


                                                       Vladimir Pajcin
                                                       United States Probation Officer
                                                       Telephone: (916) 786-2357
DATED:        2/10/2014
                                                       Reviewed by,
                                                       /s/ Michael A. Sipe


                                                       Michael A. Sipe
                                                       Supervising United States Probation Officer




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THE COURT ORDERS:

☒ Modification approved as recommended.

☐ Modification not approved at this time. Probation Officer to contact Court.

☐ Other

Dated: February 10, 2014




CC:

United States Probation

Assistant United States Attorney: Daniel McConkie

Defense Counsel: Robert Holley (appointed)




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